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                           USA v. JONATHAN NELSON, ET AL / CR17-533-EMC
                       EVIDENTIARY HEARING 8/18/2020 AT 9:00 A.M. – PROTOCOL

Face coverings are required in the courtrooms and throughout the building. The live hearing will be conducted in
Courtroom 9 using a hybrid arrangement using zoom. The Zoom interface will allow other defendants and counsel
watching in Courtroom 8 or remotely, as well as the public, to see and hear the proceeding. In the hearing
courtroom, all hearing participants will be connected to Zoom through on their own laptop/computer and headset,
so that they will be seen and heard through the zoom videoconference. Participants must speak into their headset
microphone: there will not be a counsel podium.

All counsel shall bring the following equipment:
       -Laptop
       -Wired Headset with microphone
       -Cell phone

There is a limit of 10 people in the courtrooms at a time. For those defense teams who will be examining the
witness in the courtroom, only one defense counsel and their client will be present in the courtroom. All other
counsel and defendants will be remote. The in-custody defendants and their counsel will be watching the hearing
via Zoom displayed in a large monitor in Courtroom 8. Non-custodial defendants and their counsel who will be
conducting an examination in the courtroom will wait in the Attorney Lounge on 18th Floor until their opportunity
to conduct cross examination.

All participants will have a designated spot in the hearing courtroom. The defendant will be seated at a table
separate from counsel table. There will be a court-provided computer at defendant’s table to allow them to watch
and listen to the hearing. The defendant will use a cell phone to communicate (e.g. by texting) with counsel. In-
custody defendants will be provided by the Court with a cell phone, out-of-custody must bring their own cell
phone.

On the day of the hearing, practice for live proceedings starts promptly at 8:00 a.m. It is mandatory for all counsel
who will be conducting live in-courtroom examination to be present at 8:00 am.

All counsel who will be participating in the examination at the Daubert hearing will arrange to have a tutorial
with Buz Rico of the Court’s IT staff the week of August 10.

                                           HEARING PARTICIPANTS

Government:                                           Witness: Mr. Scheetz
Kevin Barry, Ajay Krishnamurthy

Defense Counsel Conducting Examinations (organized by defendants in order of examination):

                                      Jonathan Nelson (Live) IC
                                      Jai Gohel (Live)
                                      Brian Wendt (Live) IC
                                      John Philipsborne (Live), Martin Sabelli (Remote)
                                      Raymond Foakes (Live) IC
                                      George Boisseau (Live)
                                      Damien Cesena (Live) OC
                                      Whitney O’Byrne
                                      Russell Ott (Not Present) OC
                                      Marcia Morrissey (Remote)
                                      Christopher Ranieri (Not Present) OC
                                      John Walsh (Remote)
